                         IN THE UNITED STATES DISTRICT COURT
                                                                              r     FILED IN CLERK'S OFFICE
                                                                                         U.S.0.C. • Atlanta



                         FOR THE NORTHERN DISTRICT OG GEORGIA                          .JUL U9 2021

                                    ATLANTA DIVISION                              s~~v~_;~c,.           I Clerk

                                               )

AFEEZ ADENIRAN                                 )             Criminal indictment No.

       V.                                      )             1:20-CR-114

HOLLY PIERSON                                  )

                                               )

                                               )

   MOTION TO DISMISS AND REPLACE COURT APPOINTED COUNSEL

 COMES NOW the defendant, pro se, pursuant to Rule 44(a), Federal Rules of Criminal
procedure and Sixth Amendment right to effective assistance of counsel respectfully moves this
Honorable court, in a timely manner, to dismiss and replace court appointed Counsel HOLLY
PIERSON from the above styled case for (a) Conflict of Interest, (b) Ineffective Assistance of
Counsel, and (c) Irreconcilable Conflict.

Defendant herein states the following, for good cause

   1. Request is being made to substitute counsel because my attorney has failed to
      communicate properly and professionally with me in these proceedings. In fact, there has
      been a complete breakdown in communication between me and my lawyer warranting a
      change in counsel. See United States v. Young, 482 F2d 993,995 (5 th Cir 1973) (district
      court errs by not inquiring further into defendant allegation).
   2. Regardless of whether my guilt is established oy the excludable evidence, the proper -
      question is whether the outcome of the proceedings would have been excluded. See Jones
      v. United States, 224 F. 3d 1251, 1259(1 l th Cir. 2000).
   3. Failed to review discovery or otherwise adequately prepare for trial & was unable to
      meaningfully confront the government's evidence or to understand & present defense
      evidence.
   4. Counsel's pre-trial performance has been substantially inadequate onddeficient.
      (a) The limited interactions have resulted in Ms. PIERSON not conveying an appropriate
          mastery of the facts and law pertinent to my case, and
      (b) There is a fundamental breakdown in the communication which could lead to unjust
          disposition of this case.
WHEREFORE, the defendant prays that this Honorable Court appointed Counsel
HOLLY PIERSON and any other relief this Court deems just and proper.

ON this 2nd day of July, 2021.



                                                   Respectfully Submitted,

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                                                   Signature

                                                  AFEEZ ADENIRAN
                                                  Print
                           CERTIFICATE OF SERVICE



I, AFEEZ ADENIRAN, hereby certify that I have this day filed the foregoing MOTION TO
DISMMIS AND REPLACE COURT APPOINTED COUNSEL with the Clerk of Court using
the Inmate Depository via United States Postal Service at Robert A. Deyton Detention Facility
and will send notification of such filings to all parties to this matter.

        This 2nd day of July 2021.




                                                                         SIGNATURE

                                                                         AFEEZ ADENIRAN

                                                                         PRINT

                                                                         USMS NO. 17141579

                                                                         DEFENDANT
